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AO SE (Rev. H1/LE) Criminal Complaint. -

UNITED STATES DISTRICT Courr"™ cee MISSISSIPPI

for the
Southern District of Mississippi FEB - o 2025
ASHER LORS DEPUTY

United States of America } BY __— :
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JOSE RIGOBERTO MEJIA-CUBIAS caseNo. 3. QS Mwy 1DS -U
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Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 30, 2025 in the county of Madison in the
Southern District of Mississippi , the defendant(s) violated:
Code Section Offense Description

8 U.S.C. Section 1326(a)(1) and (2) Unlawful Return of an Alien After Deportation or Removal

This criminal complaint is based on these facts:

See the attached Affidavit of HSI Special Agent Laron Smith attached hereto.

wf Continued on the attached sheet.

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ee Complainant's signature

HSI Special Agent Laron Smith

Printed name and title

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Sworn to before me and signed in my presence.

CU Judge's signature

Date: / Manaaey Zo staf Le

City and state: Jackson, Mississippi Lakeysha Greer Isaac, US Magistrate Judge
Printed name and title

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SOUTHERN DISTRICT OF MISSISSIPPI
FILED
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BidoMs FEB _5 2025
AFFIDAVIT FOR PROBABLE CAUSE FOR by “tees DEPUTY
A COMPLAINT AND ARREST WARRANT
I, Laron Smith, being duly sworn, do hereby depose and state the following:
INTRODUCTION AND AGENT BACKGROUND
\, I am employed as a Special Agent with Homeland Security Investigations

(“HSI”), assigned to the Resident Agent in Charge in Jackson, Mississippi. I have been so
employed for approximately 6 1/2 years, and prior to that was employed as a detective with the
Hattiesburg Police Department and as a Bureau Director with Mississippi Department of Mental
Health. 1 have received training and have been assigned to conduct investigations of criminal
violations of the United States Code as enumerated in Titles 8, 18, 19, 21, 22, 31 and various
other federal statutes.

2, I submit this affidavit based on information known to me personally from the
investigation, as well as information obtained from others who have investigated the matter of
have personal knowledge of the facts herein. This affidavit is being submitted in support of a
criminal complaint against Jose Rigoberto MEJIA-CUBIAS, and, as such, does not include all
the information known to me as part of this investigation, but only information sufficient to
establish probable cause for the issuance of a criminal complaint against Jose Rigoberto MEJIA-
CUBIAS for violation of Title 8, United States Code, Sections 1326(a}(1) and (2), reentry of
removed alien.

PROBABLE CAUSE

3, Jose Rigoberto MEJIA-CUBIAS was arrested by the Madison Police Department on
January 30, 2025, and charged with sexual battery and tampering with physical evidence. On
January 30, 2025, Jose Rigoberta MEJIA-CUBIAS (Alien # 200817639), a citizen and national

of El Salvador, was encountered by immigration officials in Madison County, Mississippi.

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Immigration record checks revealed that MEJ IA-CUBIAS was previously encountered by
immigration officials on July 11, 2010, near Falfurrias, Texas and that he was in the United
States illegally. MEJIA-CUBIAS admitted to being a citizen of El Salvador and entered the
United States without being paroled or admitted by an immigration officer. MEJIA-CUBIAS
was processed for expedited removal, under section 235(b)(1)(A)(D) of the Immigration and
Nationality Act. MEJIA-CUBIAS was removed from the United States to El Salvador on
August 26,2010. Queries within ICE databases revealed the subject has not received consent
from the Attorney General of the United States or Secretary of Homeland Security to apply for
readmission, or to re-enter into the United States. An immigration detainer was placed on
MEJIA-CUBIAS by Enforcement Removal Officers.

CONCLUSION

5 Based on these facts and circumstances, as articulated above, it is my belief that Jose
Rigabertao MEJIA-CUBIAS, is a citizen and national of El Salvador, illegally present in the
United States, who has previously been deported or removed from the United States while an
order of exclusion, deportation, or removal was outstanding, and thereafter was found in the
United States, in violation of Title 8, United States Code, Sections 1326(a)(1) and (2).

Respectfully submitted,

oto A.

Laron Smith”
Special Agent
Homeland Security Investigations

ah.
SWORN to before me on this ~ ~~ day of February 72" BPS, 2025.

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UNITED STATES MAGISTRATE JUDGE

